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                         Exhibit R




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 STATE OF CALIFORNIA -- ENVIRONMENTAL PROTECTION AGENCY                                PETE WILSON   Governor


 DE1PARTMENT OF TOXIC SUBSTANCES CONTROL
 REGION 1
 10151 CROYDON WAY. SUITE 3
 SACRAMENTO CA 95827-2106

(916)255-3567

                                                          Flay 13, 1993


            Mr. Donald W. Vagstad, Esq.
            General Counsel
            Corporate Division Wickes Companies, Incorporated
            3340 Ocean Park Boulevard, Suite 2000
            Santa Monica, California 90405
                                                            COMMENTS ON THE PRELIMINARY DRAFT
                          ACTION PLAN

            Dear Mr. Vagstad:
                  The Department of Toxic Substances Control (Department) h~s
            completed review of the Preliminary Draft Remedial Action Plan
            (PDRAP) and the California Environmental Quality Act (CEQA)
            initial study for the Wickes Companies, Elmira Site. The PDRAP
            was prepared by Levine-Fricke on behalf of Collins & Aikman Group
            Incorporated (CAG), formerly Wickes Companies Incorporated,
            pursuant to the Enforceable Agreement.dated February 5, 1992,
            between the Department and CAG. The PDRAP outlines the
            conceptual plan for the clean-up of soils contaminated with
            arsenic, chromium, and copper in the northern portion of the
            site.
                  The Department has found the PDRAP to be in substantial part
            acceptable, however, modifications to the proposed remedial
            action and document must be made to meet the requirements of
            Section 25356.1 of the California Health and safety Code.
                 In accordance with Section 6.0 of the Enforceable Agreement,
            the Department has made the following f~ndings:
                   A)         The Department is not satisfied with the remedial
                              actions as proposed. CAG must prepare a Draft Remedial
                              Action Plan (RAP) which conforms with the enclosed
                              requirements and comments. The most significant
                              modifications to the proposed remedial actions are 1)
                              hazardous waste and designated waste from off-site
                              areas must be disposed to appropriate landfills rather
                              than placed on-site and 2) contaminated soil in the
                              study area with detectable Chromium VI must be
                              excavated and disposed to an appropriate landfill.
                   B)         After CAG has appropriately modified the PDRAP, the
                              Department will issue the Draft RAP for public review
                              in accordance with the requirements of Health and
                              Safety Code, Section 25356.1(d).




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        c)   The Department will propose a CEQA Negative Declaration
             for the remedial action project. Appropriate CEQA
             procedures must be followed.
     Enclosed are requirements and comments on the PDRAP. These
comments shall be used to develop the Draft RAP in accordance
with the Enforceable Agreement. Upon submittal the Department
will provide the Draft RAP to the Regional Water Quality Contro~
Board (RWQCB) for review. If the RWQCB concurs with the remedial
actions proposed then the Department will release the document
for public review.
     In accordance with the Enforceable Agreement, CAG must
notify the Department whether it will proceed with the
development of the Draft RAP within 30 calendar days of this
letter. If you have any questions or comments please call
Timothy Patenaude at (916) 255-3580 or Jim Tjosvold at (916) 255-
3730.
                                 Sincerely,


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                                      , ,, . ~ )~,~. ~     ,-       ~t""~ ~ .....




                                 Anthony J. Landis, P.E., Chief
                                 Site Mitigation Branch
Enclosures
Certification No. P 329 901 605
CC:     Mr. Bruce Edelson, P.E.
        Collins & Aikman Group, Incorporated
        P.O. Box 4056
        Santa Monica, California 90411-4056
        Mr. Jim Boggs
        Wickes Manufacturing Company
        26261 Evergreen Road, 5th Floor
        Southfield, Michigan 48382
        Mr. Gregson W. Taylor
        Levine - Fricke
        3001 Douglas Boulevard, Suite 320
        Roseville, California 95661




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cc :   Ms. Wendy L. Cohen
       Regional Water Quality Control Board
       Central Valley Region
       3443 Routier Road
       Sacramento, California 95827
       Mr. David Henderson
       Office of Legal Counsel
       P.O. Box 806
       Sacramento, California 95812-0806




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                                                              Dep~rnent of Toxic Substances Control
¯ State of California

 IV]emorandum

To      : Anthony J. Landis, P.E., Chief              Date:   ~lay 13, 1993
          Site Mitigation Branch

 Via    : James Tjosvold, Chief
          Sacramento Responsible Party Unit
          Site Mitigation Branch

From    : Timothy Patenaude
          Site Mitigation Branch
          (916) 255-3580


Subject:   Comments on Wickes Companies, Elmira Site


                        PRELIMINARY DRAFT REMEDIAL ACTION PLAN (PDRAP)
                   Change the title and appropriate other parts of the PDRAP
                   to identify the site as the Wickes Companies, Elmira Site.
                   The site identification must remain consistent for the
                   Department of Toxic SubstancesControl (Department) and
                   other agency records and for the public’s understanding of
                   the project and its location.
                   Revise the background section of the PDRAP to include a
                   discussion of previous and ongoing environmental clean-up
                   activity at the site.
                   Ae    Identify physical areas of the site that were
                         included in former agreements or remedial action
                         decisions¯
                         Discuss past resolutions to soil, surface water, and
                         ground water contamination. Include maps identifying
                         the location of remediation facilities including
                         caps, treatment plant, and extraction systems. List
                         the ground water clean-up levels.
                         Distinguish precisely what area is being evaluated in
                         the PDRAP and explain how remediation in this area
                         relates to environmental clean-up for the whole
                         facility.
                   Alamo Creek should be identified in Section 3.2.2 as a
                   surface water near the study area. In Figure 5, Alamo
                   Creek appears to be within 1500 feet of the study area.
                   Specify whether site drainage ditches flow into Alamo
                   Creek.




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       Supply information on air investigations at the Study Area
       and/or site. If there has been no detailed air
       investigations conducted, describe the rationale for this
       decision. At a minimum, include a narrative about
       contamination assessment given the potential for fugitive
       dust migration.    Furnish a wind rose for the vicinity.
 o     Report on data from ecological invest~ati~n/s./5~tifyl--~-
       plant and animal populations that~in direct or
       indirect contact with contaminants. If biological receptors
       were not considered in evaluating remediation alternatives
       discuss the rationale for this decision.
 e     There seems to be limited soil sampling data from off-site,
       south of the study area. This area is predominantly
       residential and contains an elementary school. Since this
       area may embody the most sensitive receptors, discuss the
       reasoning for not investigating potential off-site migration
       in this area.
       Modify the potential human exposure section to include an
       evaluation of dermal contact as a potential exposure pathway
       for inorganics from site soils.
       Provide a site map showing ground water contamination
       contours.
       Include, into the study area, the region of the site that
       encompasses soil sample locations 103 and 104. This region
       also includes a portion of the soil piles generated from
       drilling operations at the site. Include this region in the
       final remedial action alternative.
10.    Explain sample location 104 in relationship to the paved
       area. Was the pavement breached to allow access to the
       underlying soil? What is the rationale for selecting this
       location for a soil sample?
11.    We agree with the use of background concentrations for
       clean-up levels; however, we don’t agree with the use of
       large regional background values obtained from the
       literature. Local background should be used. We believe
       that most of the values in the farm area to the east of the
       site represent a local background condition. Using these
       values, we calculate the following 95 percent upper
       confidence levels for background concentrations to be used
       for clean-up levels: total chromium is 90 parts per million
       (ppm) and arsenic is 9 ppm. Detections of hexavelant




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     chromium at the detection limit of i0 ppm indicate
     contamination. Therefore, the clean-up level for hexavelant
     chromium is the detection limit. For future sampling,
     additional effort must be made to lower the detection limit.
     Copper at the levels observed at the site does not pose a
     threat to public health.
     The PDRAP sampling data indicates that some on-site and
     off-site soils exceed the total threshold limit
     concentration which identifies them as hazardous waste by
     the characteristic of toxicity. This designation requires
     that these soils must be managed in a manner consistent with
     the hazardous waste requirements of the California Code of
     Regulations, Title 22. The excavation of off-site soils
     classified as hazardous waste and the subsequent on-site
     consolidation of these soils constitutes placement of waste.
     Placement triggers land disposal restrictions which
     necessitate that the on-site area must be designated as a
     hazardous waste landfill and that it must meet minimum
     technology requirements under Title 22. Therefore, off-site
     soils that are hazardous waste must be excavated and taken
     to an off-site Class I disposal facility.
     Remove from the PDRAP claims that study area soils do not
     present a threat to ground water quality. Table 4 ~ndicates
     that soil sample~, subjected to leaching studies uslng
     deionized water (used to mimic rain water), leached arsenic
     and chromium at levels exceeding maximum concentration
     limits for drinking water. This analysis indicates that
     these soils may be considered designated waste pursuant
     California Code of Regulations Title 23, Section 2522(a).
     The Regional Water Quality Control Board (RWQCB) will have
     to make this decision. In addition, off-site soils that are
     characterized as designated waste shall not be placed on-
     site. These soils should be excavated for Class I or II
     off-site disposal.
14. ~"Sample analysis of on-site soils in the vicinity of
     locations 29, 35, 36, 44, 49, 53, and 54 indicates that the
     hexavalent chromium level increases with depth. This trend
     in conjunction with sample concentrations provides a
     potential threat to ground water. Therefore, the Department
     believes that the soils in this area should be excavated and
     removed for proper disposal.
     Off-site soils and on-site stockpiled soils that are not
     hazardous waste or designated waste are considered to be
     inert waste. Inert waste, soils that exceed proposed




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      clean-up levels may be used to fill excavated on-site areas.
      However, the amount of off-site soils brought on-site as
      fill shall not exceed the amount of on-site excavation. The
      on-site area shall not become a landfill.
16.   Estimate the quantity of on-site and off-site soil that
      exceed hazardous waste, designated waste and clean-up
      levels.
17.   The extent of contamination in soils in the off-site
      railroad area, along the western boundary of the site, has
      not been completely defined. Sample locations i and 106
      have contaminant concentrations above the clean-up levels.
      Identify in the PDRAP that additional soil samples will be
      taken to confirm that excavation in the off-site railroad
      area has removed all contaminated soils above remedial
      action goals.
18.   In the farm area, two areas may be contaminated with
      chromium. In the North, the area is represented by samples
      86, 89, and 90 and in the South, the area is represented by
      samples 68, 71, and 72. These areas should be remediated or
      additional sampling done to clarify whether the existing
      sampling is indicative of contamination.
19.   Remove the contents of Appendix A. The Department will
      provide an initial study checklist for inclusion into
      Appendix A.
20.   Incorporate institutional controls as part of the selected
      remedial alternative. Identify that the on-site area will
      be fenced to restrict access by the public. A deed
      restriction will be required which will preclude future use
      of the property for habitation including housing and
      schools, preclude use of chemicals which could increase the
      mobility of contaminants left on-site and preclude the
      excavation of contaminated soils. An Operation and
      Maintenance Agreement would address the cap and ground water
      extraction and treatment system and include financial
      assurance to assure continued operation and maintenance of
      the facilities.
21.   Update the PDRAP Implementation Schedule to incorporate the
      following changes:
           Change the Departments c~mments date to the actual date
           these comments are submitted.




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           Subsequent review of the Draft RAP by the Department
           shall be scheduled for 30 days.
           Additional modifications to the Draft RAP shall be
           conducted by Collins & Aikman Group (CAG) within 15
           days.
      Do   Preparation of the Final RAP and response summary sha~l
           be broken into three parts with 15 day intervals each.
           First, CAG shall prepare the final RAP with response to
           public comments. Second, the Department shall review
           the Final RAP and work with CAG to incorporate minor
           changes if needed. Finally, the Department shall
           approve the Final RAP andadopt the California
           Environmental Quality Act (CEQA) Negative Declaration.
22.   An Executive Summary must be included which summarizes the
      contamination on the site, remedial alternatives evaluated
      and the recommended remedial actions, identifies the reasons
      for the proposed remedial actions, selection and lists
      clean-up levels.
23.   Include a section within the RAP identifying the
      Department’s nonbinding preliminary allocation of
      responsibility. The language is provided by Enclosure 2.




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                                                        Enclosure 2


       NONBINDING PRELIMINARY ALLOCATION OF RESPONSIBILITY
     Health and Safety Code (HSC) Section 25356.1(d) requires the
Department of Toxic Substances Control (Department) to prepare a
Nonbinding Preliminary Allocation of Responsibility (NBAR) among
a11 identifiable Potentially Responsible Parties (PRPs). HSC
§25356.3(a) allows PRPs with an aggregate allocation in excess of
50% to convene an arbitration proceeding by submitting to binding
arbitration before an arbitration panel. If PRPs with over 50%/
of the allocation convene arbitration then any other PRP wishing
to do so may also submit to binding arbitration.
     The sole purpose of the NBAR is to establish which PRPs will
have an aggregate allocation in excess of 50% and can therefore
convene arbitration if they so choose. The NBAR, which is based
on the evidence available to the Department, is not binding on
anyone, including PRPs, the Department, or the arbitration panel.
If a.panel is convened, its proceedings are de novo and do not
constitute a review of this provisional allocation. The
arbitration panel’s a11ocation will be based on the panel’s
application of the criteria spelled out in HSC §25356.3(b) to the
evidence produced at the arbitration hearing. Once arbitration
is convened, or waived, the NBAR has no further effect in
arbitration, litigation or any other proceedings, except that
both the NBAR and the arbitration panel’s allocation are
admissible in a court of law, pursuant the HSC §25356.7, for the
sole purpose of showing the good faith of the parties who have
discharged the arbitration panel’s decision.
     The Department sets forth the following nonbinding
preliminary allocation of responsibility for liability for costs
of all removal and remedial actions at the Site known as the
"Wickes Companies, Elmira":
100% - Collins & Aikman Group, Incorporated (a Delaware
Corporation), as successor in interest to:
  ¯ The Wickes Corporation (a Delaware Corporation) operating
through its Wickes Forest Industries Division, as successor in
interest to:
  ¯ Pacific Wood Preserving Corporation (a Domestic Corporation,
dissolved effective September Ii, 1980)




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